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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Sonrai Systems, LLC, et al.
                                    Plaintiff,
v.                                                    Case No.: 1:16−cv−03371
                                                      Honorable Thomas M. Durkin
Anthony M. Romano, et al.
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 17, 2018:


       MINUTE entry before the Honorable Thomas M. Durkin:Motion to withdraw as
attorney [194] is granted; Attorney Patrick O'Neil Quinn terminated. No appearance is
required on 7/19/2018.Mailed notice(srn, )




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